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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CASE NO. 21-cr-190-DLF
Vv.
ZACHARY JORDAN ALAM,

Defendant.

VERDICT FORM

Count I: Assaulting, Resisting, or Impeding Certain Officers

J

Guilty Not Guilty

Count 3: Obstructing Officers During a Civil Disorder

v

Guilty Not Guilty

Count 4: Destruction of Government Property

4

Guilty Not Guilty

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Count 5: Obstruction of an Official Proceeding
Guilty Not Guilty
Count 6: Entering or Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon

JS

Guilty Not Guilty

If you have marked Guilty as to Count 6 above, proceed to Count 7. If not, you
must consider the lesser included offense:

Guilty Not Guilty

Count 7: Disorderly or Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon

Jf

Guilty Not Guilty

If you have marked Guilty as to Count 7 above, proceed to Count 8. If not, you
must consider the lesser included offense:

Guilty Not Guilty
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Count 8: Engaging in Physical Violence in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon

v

Guilty

Not Guilty

If you have marked Guilty as to Count 8 above, proceed to Count 9. If not, you
must consider the lesser included offense:

Guilty Not Guilty
Count 9; Disorderly Conduct in a Capitol Building

vo

Guilty Not Guilty

Count 10: Act of Physical Violence in a Capitol Building

fo

Guilty Not Guilty

Count 11: Parading, Demonstrating, or Picketing in a Capitol Building

af

Guilty Not Guilty

Dated this Ae _ day of Sephember, 2023

